
Robert E. Landry, Patrick D. Gallaugher, Kevin P. Fontenot, Scofield, Gerard, Pohorelsky, Gallaugher &amp; Landry, 901 Lakeshore Drive, Suite 900, Lake Charles, LA 70601, (337) 433-9436, COUNSEL FOR DEFENDANT-APPELLANT: Citgo Petroleum Corporation
Craig Isenberg, Kyle W. Siegel, Joshua O. Cox, Barrasso Usdin Kupperman Freeman &amp; Sarver, LLC, 909 Poydras, 24th Floor, New Orleans, LA 70112, (504) 589-9700, COUNSEL FOR DEFENDANT APPELLANT: Citgo Petroleum Corporation
Wells T. Watson, Jake D. Buford, Baggett, McCall, Burgess, Watson &amp; Gaughan, P. O. Drawer 7820, Lake Charles, LA 70606-7820, (337) 478-8888, COUNSEL FOR PLAINTIFF-APPELLEE: Ricky Matthews
Richard Elliott Wilson, Somer G. Brown, Cox, Cox, Filo, Camel &amp; Wilson, LLC, 723 Broad Street, Lake Charles, LA 70601, (337) 436-6611, COUNSEL FOR PLAINTIFF-APPELLEE: Ricky Matthews
Court composed of Sylvia R. Cooks, John D. Saunders, and Elizabeth A. Pickett, Judges.
COOKS, Judge.
*1083For the reasons assigned by this court in Bowling v. CITGO Petroleum Corp. , 18-169 (La.App. 3 Cir. 11/28/18), --- So.3d ----, the judgment of the trial court awarding Ricky Matthews $45,732.00 in damages for his exposure to the slop oil released by CITGO is affirmed.
AFFIRMED.
Pickett, J., dissents for the reasons assigned in 18-169, Bowling v. CITGO Petroleum Corp.
